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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
In re:

JOSEPH ARTHUR ROSSI AND
JESSICA ARIEL ROSSI,                                        BANKRUPTCY
                                                            CASE NO.: 6:18-bk-06504-CCJ

Debtors.
_____________________________/

         MOTION OF ARVIND MAHENDRU, AS CHAPTER 7 TRUSTEE OF THE
         ESTATE OF JOSEPH A. ROSSI AND JESSICA A. ROSSI, TO APPROVE
             COMPROMISE AND SETTLEMENT OF CONTROVERSY OF
                 ADVERSARY PROCEEDING 6:19-AP-00226-CCJ


                              NOTICE OF OPPORTUNITY TO
                         OBJECT AND REQUEST FOR HEARING
       Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
  without further notice or hearing unless a party in interest files a response within 21 days
  from the date set forth on the attached proof of service, plus an additional three days for
  service if any party was served by U.S. Mail. You should read these papers carefully and
  discuss them with your attorney if you have one. If the paper is an objection to your claim in
  this bankruptcy case, your claim may be reduced, modified, or eliminated.

         If you object to the relief requested in this paper, you must file a response with the
  Clerk of the Court at 400 W. Washington St., Suite 5100, Orlando, FL 32801, and serve a
  copy on the movant’s attorney, Centrone & Shrader, PLLC, 612 W. Bay Street, Tampa, FL
  33606, and any other appropriate persons within the time allowed. If you file and serve a
  response within the time permitted, the Court will either schedule and notify you of a hearing
  or consider the response and grant or deny the relief requested without a hearing.
          If you do not file a response within the time permitted, the Court will consider that
  you do not oppose the relief requested in the paper, will proceed to consider the paper without
  further notice or hearing, and may grant the relief requested.
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       Plaintiff Arvind Mahendru (“Trustee”), as Chapter 7 Trustee of the bankruptcy estate of

Joseph A. Rossi and Jessica A. Rossi (“Debtors”), by and through the undersigned law firm,

pursuant to Federal Rule of Bankruptcy Procedure 9019, hereby moves this Honorable Court to

approve compromise and settlement of the controversies between Trustee and Defendant ADT,

LLC, d/b/a ADT Security Services (“Defendant”) in Adversary Proceeding 6:19-ap-00226-CCJ,

and moves for an Order directing that service of any Order granting this motion be limited to the

debtors, debtor’s attorney (if applicable), the Trustee, other parties to the proposed transaction, and

objecting party, if any, and in support of the relief requested states:

1.     On October 19, 2018, Debtors filed a petition for relief under Chapter 7 of Title 11, of the

       United States Code and Trustee was appointed by this Court. This Chapter 7 is currently

       pending before this Court.

2.     On June 12, 2019, Trustee filed a Complaint commencing Adversary Proceeding No. 6:19-

       ap-00226-CCJ, in the United States Bankruptcy Court for the Middle District of Florida

       (the “Adversary Proceeding”), against the Defendant.

3.     In this matter, the trustee brought claims pursuant to the FCCPA seeking an award of

       statutory damages, which are limited to $1,000.00 for the FCCPA claim. The Defendant in

       this adversary has denied the allegations of the adversary complaint. This matter has settled

       on a basis consistent with statutory damages provided for by applicable statutes, in this

       case for $4,000.00, while taking into account the risks and benefits of continued litigation.

4.      The complex issues to be resolved in the Adversary Proceeding create uncertainty as to the

        outcome at the trial on the merits. Further, based on the expense, inconvenience and delay

        associated with continued litigation, it is fair and equitable and in the Trustee’s and

        Defendant’s best interests to settle these matters without a trial.



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5.   Therefore, Trustee and Defendant have agreed to compromise and settle all disputes

     between them as to the matters alleged in the Adversary Proceeding or otherwise existing.

     The Settlement Agreement is available for inspection at the offices of counsel for

     Trustee, Centrone & Shrader, PLLC, and copies may be obtained by written request.

                           THE SETTLEMENT AGREEMENT

6.   Trustee requests that this Court approve the Compromise and Settlement set forth in the

     Settlement Agreement.

7.   The principle terms of the Settlement Agreement are that Defendant shall pay to Trustee

     the total sum of $4,000.00 paid in one installment (the “Settlement Funds”). As provided

     for by Fla. Stat § 559.77(2), attorneys’ fees will be paid from the Settlement Funds with

     $2,400.00 going to the estate and $1,600.00 for attorneys’ fees and costs. Approval of the

     Court will first be obtained.

8.   Pursuant to the Order authorizing employment of special counsel, Applicant's

     compensation was to be (i) fees and cost awarded as a prevailing party in the adversary

     proceeding or agreed to as part of a settlement; and, (ii) forty percent (40%) of any actual

     damages (either awarded by the court or agreed to by the parties) and/or other tangible

     economic benefit to the bankruptcy estate.

9.   With payment of the Settlement Funds by Defendant made as provided in the Settlement

     Agreement, the Adversary Proceedings will be dismissed with prejudice as to the

     Defendant, Trustee and Defendant will exchange general releases, and each party will agree

     to pay their own attorneys’ fees and costs, with the exception of Plaintiff’s fees paid by

     Defendant from the Settlement Funds set forth above, as required by statute and set forth

     below.



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10.   The parties have agreed to an immediate disbursement of the settlement proceeds to the

      Bankruptcy Estate and for attorney’s fees and costs upon the entry of a Court order

      approving the terms of the settlement.

                                  ATTORNEY’S FEES & COSTS

11.   Factors to be Considered in Awarding Fees. Section 330 of the Bankruptcy Code provides

      that the Court may award a professional employed under section 327 or 328 (A) a

      reasonable compensation for actual, necessary services rendered by the … professional

      person, or attorney and by any paraprofessional person employed by any such person; and

      (B) reimbursement for actual, necessary expenses. This Motion addresses the factors set

      forth in In re Bilgutay, 108 B.R. 333 (Bankr. M.D. Fla. 1989), and In re First Colonial

      Corp. of America, 544 F.2d 1291 (5th Cir. 1977), cert. Denied, 431 U.S. 904 (1977),

      pursuant to the Guidelines for Fee Applications promulgated by the United States Trustee's

      Office for the Middle District of Florida.

12.   Experience, Reputation and Ability of Counsel and the Results Obtained. The primary

      attorneys on this case were Gus Centrone and Brian Shrader. Gus Centrone earned his law

      degree from Washington & Lee University College of Law. Prior to joining the Firm, Mr.

      Centrone was employed by Lash & Wilcox, PL, and was an associate at John F. Lauro,

      P.A. Previously a prosecutor for the State of Florida, Brian Shrader then became a senior

      trial attorney at a consumer protection law firm before co-founding Centrone & Shrader.

      Gus Centrone and Brian Shrader have litigated hundreds of consumer protection

      complaints similar to the instant matter.




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13.   Results Obtained. The Firm assisted the Trustee in discharging his statutory duties by

      investigating and litigating a consumer protection claim against ADT, LLC, d/b/a ADT

      Security Services for violation of consumer protection statutes.

14.   Customary Fee. The rates charged by the Firm are within the range for professionals of

      similar skill and reputation within the Middle District of Florida.

15.   Whether the Fee is Fixed or Contingent. The fees requested are contingent insofar as they

      are subject to this Court's approval prior to being paid and to the extent the Trustee has

      funds sufficient to pay the fees and costs. At the time of engagement, it is the Firm's

      understanding that the Estate did not have any liquid assets.

16.   Undesirability of the Case. This case was desirable except to the extent that there were

      insufficient funds to cover the fees and costs to be provided.

17.   Awards in Similar Cases. The time records shown on composite Exhibit “A” provide the

      Court and other creditors with a detailed description of the activities of counsel in this case.

      The Firm believes the fees and costs requested are consistent with the practice in other

      cases.

18.   Applicable Legal Standards. The applicable legal standards herein, as set forth in 11 U.S.C.

      § 327, are based on the time, nature, extent, and value of the Firm's services as well as the

      cost of comparable services other than in a case under Title 11 and reimbursement for actual

      necessary expenses incurred. Furthermore, the Court has jurisdiction to award a quantum

      merit fee in favor of the Trustee and his professionals.

19.   Attached as Exhibit A are the time sheets from Applicant setting forth a description of all

      work done on the Adversary Proceeding. As is clear from Exhibit A, Applicant incurred

      reasonable attorneys' fees in litigating this matter and shall receive forty percent (40%) of



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       the total recovery as agreed to by the parties. (Doc. 23, pp. 3). The Firm seeks compensation

       in the amount of $1,600.00 for the time spent during the Application Period for the matters

       detailed and listed in Exhibit “A” in order to maximize the benefit to the estate. Time

       increments are reported in tenths of an hour, with one-tenth (.1) equaling six minutes. All

       of the services for which the Firm seeks compensation were performed for and on behalf

       of the Estate and not on behalf of any other person or entity.

20.    The Settlement Agreement is contingent on approval by this Court.

       WHEREFORE, Trustee respectfully requests that this Court enter an Order: (i) granting

the Motion in its entirety as to Trustee and Defendant, and finding that Trustee provided good and

sufficient notice of the Motion; (ii) finding that the Settlement Agreement is fair and equitable and

in the best interest of Trustee and the creditor; (iii) approving the Settlement Agreement in all

respects; (iv) authorizing Trustee to enter into the Settlement Agreement in order to, among other

things, compromise and settle the claims and controversies as outlined herein and in accordance

with the specific terms and conditions of the Settlement Agreement as to Defendant; (v) directing

the immediate disbursement and current payment of the approved settlement proceeds to the Estate

and Centrone & Shrader, PLLC from the Settlement Funds; and (vi) granting such other and

further relief as this Court deems necessary or appropriate.




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Dated: October 8, 2019                                  Respectfully submitted,
                                                        CENTRONE & SHRADER, PLLC
                                                        612 W. Bay Street
                                                        Tampa, FL 33606
                                                        Phone: (813) 360-1529
                                                        Fax: (813) 336-0832

                                                         /s/ Brian L. Shrader_____
                                                         BRIAN L. SHRADER, ESQ.
                                                         Florida Bar No. 57251
                                                         e-mail: bshrader@centroneshrader.com
                                                         Attorney for Trustee


                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served on October

8, 2019 by CM/ECF after the docketing of the pleading if the recipient is a registered CM/ECF

user or by United States Mail, or Certified United States Mail if the entity is an insured depository

institution, on the attached mailing matrix.



                                                        __/s/ Brian L. Shrader ___________
                                                        Attorney




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           EXHIBIT A
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                                                                                              INVOICE


   TO:                                                                          FROM:
   Rossi (Ma) v. ADT                                                            Centrone & Shrader, PLLC
                                                                                612 W. Bay Street
                                                                                Tampa, FL 33606



INVOICE NUMBER: 1057
INVOICE DATE: OCTOBER 08, 2019                                        PAYMENT TERMS: DUE ON RECEIPT

                       Please remit to: Centrone & Shrader 612 W. Bay St, Tampa, FL 33606

DATE        TIMEKEEPER       DESCRIPTION                                           HOURS       RATE        AMOUNT
DEC-11-18   Alex Mendez      Called and spoke with Debtor. Completed                 1.00   $135.00        $135.00
                             intake. Drafted summary of intake for review.
JAN-03-19   Alex Mendez      Called and left voicemail for Debtor re. intake.        0.10   $135.00         $13.50
FEB-18-19   Gus Centrone     Modify and expand application to employ,                0.60   $375.00        $225.00
                             declaration of propose counsel, draft complaint
APR-22-19   Gus Centrone     Modify and expand declaration of special                0.30   $375.00        $112.50
                             counsel, proposed orders
APR-25-19   Gus Centrone     Review intake, Legal analysis                           0.30   $375.00        $112.50
JUN-03-19   Alex Mendez      Reviewed 341 recording.                                 0.20   $135.00         $27.00
JUN-03-19   Alex Mendez      Drafted complaint.                                      0.60   $135.00         $81.00
JUN-04-19   Gus Centrone     Review intake, Modify and expand complaint              0.50   $375.00        $187.50
JUN-11-19   Alex Mendez      Drafted and filed proof of service.                     0.20   $135.00         $27.00
JUN-11-19   Brian Shrader    Reviewed proof of service.                              0.20   $375.00         $75.00
JUN-14-19   Alex Mendez      Drafted summons executed.                               0.20   $135.00         $27.00
JUN-14-19   Brian Shrader    Reviewed and signed summons executed.                   0.20   $375.00         $75.00
JUN-17-19   Alex Mendez      Finalized and filed summons executed.                   0.20   $135.00         $27.00
JUN-27-19   Brian Shrader    Correspond with OC                                      0.20   $375.00         $75.00
JUL-01-19   Brian Shrader    Correspond with OC                                      0.20   $375.00         $75.00
JUL-16-19   Brian Shrader    Reviewed settlement agreement                           0.30   $375.00        $112.50
JUL-16-19   Kellie O'Connell Drafted Settlement Agreement                            0.40   $135.00         $54.00
JUL-16-19   Kellie O'Connell Sent settlement agreement to opposing counsel           0.10   $135.00         $13.50
                             for review
SEP-03-19   Kellie O'Connell Correspondence with client                              0.10   $135.00         $13.50
SEP-04-19   Kellie O'Connell Correspondence with oc                                  0.10   $135.00         $13.50
SEP-12-19   Brian Shrader    Prepare for and attend PTC                              0.40   $375.00        $150.00



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                                                                                        INVOICE NUMBER: 1057


DATE        TIMEKEEPER      DESCRIPTION                                      HOURS      RATE      AMOUNT
SEP-25-19   Kellie O'Connell Drafted Motion to Approve Compromise and          0.40   $135.00        $54.00
                             proposed order
SEP-30-19   Brian Shrader   Modify and expand motion to approve                0.60   $375.00       $225.00
                            compromise and proposed order granting
                            Total hours for this invoice                       7.40
                            Total amount of this invoice                                          $1,911.00




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